         Case 1:19-cv-00283-CWD Document 14 Filed 08/29/19 Page 1 of 1



                             UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO


 WESTERN WATERSHEDS PROJECT,
                                                   No. 1:19-cv-283-CWD
                Plaintiff,
                                                   ORDER TO STAY BRIEFING ON
        v.                                         MOTION FOR SUMMARY JUDGMENT
                                                   [DKT. 7] AND VACATE SCHEDULING
 BUREAU OF LAND MANAGEMENT,                        CONFERENCE

                Defendant.


       The parties’ Joint Motion and Stipulation to Stay Briefing and Vacate Scheduling

Conference, ECF No 13, is GRANTED. The Scheduling Conference presently scheduled for

October 28, 2019 is VACATED. If Defendant completes production of records responsive to

Plaintiff’s FOIA request on October 18, 2019, as stipulated, the parties shall confer and file a

Joint Status Report on or before November 4, 2018, informing the Court how the case should

proceed. If Defendant does not complete production of records responsive to Plaintiff’s FOIA

request on October 18, 2019, as stipulated, Defendant shall file a response to Plaintiff’s Motion

for Partial Summary Judgment, ECF No. 7, on November 4, 2019. Plaintiff may file a response

or reply on or before November 11, 2019.


                                                      DATED: August 29, 2019


                                                      _________________________
                                                      Honorable Candy W. Dale
                                                      United States Magistrate Judge




ORDER GRANTING MOTION TO STAY AND VACATE CONFERENCE-1
